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 Fill in this information to identify the case:

 United States Bankruptcy Court for the District of Delaware

 Case number (If known):                                     Chapter   11


                                                                                                                                       Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.    Debtor’s name                        Francesca’s Holdings Corporation


 2.    All other names debtor used
       in the last 8 years
       Include any assumed names,
       trade names, and doing business
       as names




 3.    Debtor’s federal Employer                        2            0 – 8          8   7      4       7      0       4
       Identification Number (EIN)                      2




  4.   Debtor’s address                  Principal place of business                                       Mailing address, if different from principal place
                                                                                                           of business


                                         8760 Clay Road, Suite 100                                 _
                                          Number            Street                                         Number         Street



                                                                                                   _
                                                                                                           P.O. Box


                                         Houston                            TX          77080
                                         City                               State       ZIP Code           City                        State      ZIP Code

                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business

                                         Harris County
                                         County                                                            Number         Street




                                                                                                           City                        State      ZIP Code




 5.    Debtor’s website (URL)               www.francescas.com



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Debtor         Francesca’s Holdings Corporation                              _                    Case number (if known)
             Name




 6. Type   of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:

                                              A. Check one:
 7. Describe   debtor’s business
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               Railroad (as defined in 11 U.S.C. § 101(44))
                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               None of the above

                                              B. Check all that apply:

                                               Tax-exempt entity (as described in 26 U.S.C. § 501)
                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)
                                               Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   4      4  8    1


 8. Under which chapter of the                Check one:
     Bankruptcy Code is the
     debtor filing?                            Chapter 7
                                               Chapter 9
                                               Chapter 11. Check all that apply:
     A debtor who is a “small business
     debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                                   aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                               affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                              recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                               income tax return or if any of these documents do not exist, follow the procedure
     “small business debtor”) must                                 in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.                                    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                   noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                   Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                   statement of operations, cash-flow statement, and federal income tax return, or
                                                                   if any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                   § 1116(1)(B).

                                                                  A plan is being filed with this petition.

                                                                  Acceptances of the plan were solicited prepetition from one or more classes
                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                   Rule 12b-2.
                                               Chapter 12




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Debtor          Francesca’s Holdings Corporation                                   _                   Case number (if known)
                Name



 9.   Were prior bankruptcy cases               No
       filed by or against the debtor
       within the last 8 years?                 Yes.    District                               When                      _ Case number
                                                                                                        MM / DD / YYYY
       If more than 2 cases, attach a
                                                         District                               When    _ Case number
       separate list.
                                                                                                        MM / DD / YYYY


 10. Are    any bankruptcy cases                No
       pending or being filed by a
       business partner or an                   Yes.    Debtor      See Attached Schedule 1                                Relationship     Affiliates
       affiliate of the debtor?                          District    District of Delaware                                   When             12/03/2020
                                                                                                                                                MM / DD / YYYY
       List all cases. If more than 1,
       attach a separate list.                           Case number, if known



 11. Why    is the case filed in this          Check all that apply:
       district?
                                                  Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any
                                                   other district.

                                               A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does   the debtor own or have              No
      possession of any real                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                              Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                            What is the hazard?

                                                           It needs to be physically secured or protected from the weather.

                                                           It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).

                                                           Other



                                                        Where is the property?
                                                                                       Number          Street

                                                                                                                                                                 _

                                                                                                                                     _              City
                                                                                                                                           State ZIP Code


                                                        Is the property insured?

                                                           No
                                                           Yes. Insurance agency

                                                                    Contact name                                                                                 _

                                                                    Phone




               Statistical and administrative information




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Debtor         Francesca’s Holdings Corporation                                 _                    Case number (if known)
              Name




 13. Debtor’s   estimation of                 Check one:
       available funds
                                              • Funds will be available for distribution to unsecured creditors.
                                              
                                               After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              • 1-49
                                                                                    1,000-5,000                               25,001-50,000
 14.   Estimated number of                     50-99                                5,001-10,000                              50,001-100,000
       creditors
                                               100-199                              10,001-25,000                             More than 100,000
                                               200-999

                                              • $0-$50,000
                                                                                    $1,000,001-$10 million                    $500,000,001-$1 billion
 15.   Estimated assets                        $50,001-$100,000                     $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                               $100,001-$500,000                    $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                              $500,001-$1 million                   $100,000,001-$500 million                 More than $50 billion

                                               $0-$50,000                          •$1,000,001-$10 million                    $500,000,001-$1 billion
 16.   Estimated liabilities                   $50,001-$100,000                     $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                               $100,001-$500,000                    $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                               $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion


             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                                  petition.
       debtor
                                                  I have been authorized to file this petition on behalf of the debtor.

                                                  I have examined the information in this petition and have a reasonable belief that the information is true and
                                                  correct.


                                              I declare under penalty of perjury that the foregoing is true and correct.

                                                  Executed on   12/03/2020
                                                                MM / DD / YYYY


                                                                                                                 Andrew Clarke
                                                  Signature of authorized representative of debtor              Printed name


                                                  Title   President and Chief Executive Officer




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Debtor        Francesca’s Holdings Corporation                                 _               Case number (if known)
             Name




 18. Signature      of attorney
                                              /s/ Jason M. Madron                                         Date
                                                                                                                        12/03/2020
                                                 Signature of attorney for debtor                                       MM      / DD / YYYY



                                                  Jason M. Madron                                                                                      _
                                                 Printed name
                                                  Richards, Layton & Finger, P.A.                                                                      _
                                                 Firm name
                                                   920 North King Street                                                                               _
                                                 Number         Street
                                                   Wilmington                                                   Delaware           19801
                                                 City                                                           State            ZIP Code

                                                   (302) 651-7700                                                 madron@rlf.com                       _
                                                 Contact phone                                                  Email address



                                                  4431                                                           Delaware
                                                 Bar number                                                     State




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                                               SCHEDULE 1

                     Pending Bankruptcy Cases Filed by the Debtors in this Court

         On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”) filed a
voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court
for the District of Delaware. Contemporaneously herewith, the Debtors are filing a motion requesting joint
administration of these chapter 11 cases for procedural purposes only under the case number assigned to
Francesca’s Holdings Corporation.

        1.       Francesca’s Holdings Corporation
        2.       Francesca’s LLC
        3.       Francesca’s Collections, Inc.
        4.       Francesca’s Services Corporation
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                                UNANIMOUS WRITTEN CONSENT OF
                                   THE BOARD OF DIRECTORS
                                               OF
                              FRANCESCA’S HOLDINGS CORPORATION
                                     (a Delaware Corporation)

                                    IN LIEU OF A SPECIAL MEETING

                                                December 3, 2020

       The undersigned, being all of the members of the board of directors (the “Board”) of Francesca’s
Holdings Corporation, a Delaware corporation (the “Corporation”), hereby waive the calling, notice, and
holding of a special meeting and, in lieu thereof, acting in accordance with the Corporation’s governing
documents and pursuant to Section 141(f) of the Delaware General Corporation Law and after full
consideration, hereby consent to and adopt the following resolutions (the “Resolutions”) by giving their
express written consent thereto.

        WHEREAS, the Board has reviewed the materials presented by management and its financial,
legal, and other advisors, has conducted its own analysis and has engaged in numerous and extensive
discussions (including, without limitation, with its management and such advisors) regarding, and has
analyzed and had the opportunity to fully consider, the financial condition of the Corporation and its
subsidiaries, including, but not limited to their liabilities, liquidity position, the strategic alternatives
available to them, the market in which they operate, their current and future liquidity needs, their business
prospects, and their current and long-term liabilities and the impact of the foregoing on the Corporation’s
businesses and operations;

         WHEREAS, the Board was advised by its financial, legal, and other advisors regarding, among
other things, the Corporation and its subsidiaries’ ability to draw upon their existing working capital facility,
term loan debt, and the magnitude of deferred rent and other lease obligations;

        WHEREAS, the Board, in consultation with the Corporation’s financial, legal, and other advisors,
has determined that it is in the best interests of the Corporation to explore a potential sale of its assets to
one or more potential bidders (the “Sale Transaction”);

        WHEREAS, after reviewing indications of interest submitted by interested bidders, the Board,
with the assistance of the Corporation’s financial, legal, and other advisors, reviewed and negotiated a letter
of intent from TerraMar Capital LLC (through an affiliate) (the “Stalking Horse Bidder”) to purchase
substantially all of the Corporation’s assets (as amended, modified, or supplemented, the “Stalking Horse
LOI”); and

        WHEREAS, the Board determined that the Stalking Horse LOI is fair and reasonable and will not
discourage competitive bidding in connection with the Sale Transaction.

Chapter 11 Cases

         NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is desirable and
in the best interests of the Corporation and each of its direct and indirect subsidiaries, Francesca’s LLC,
Francesca’s Collections, Inc., and Francesca’s Services Corporation (collectively, the “Filing Entities”),
their creditors, and other parties in interest, that the Filing Entities file or cause to be filed voluntary petitions
for relief under the provisions of chapter 11 of title 11 of the United States Code, §§ 101-1532, et seq. (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
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Court”) or other court of competent jurisdiction as soon as practicable hereafter.

        RESOLVED FURTHER, that the Chief Executive Officer and the Chief Financial Officer of the
Corporation (each an “Authorized Person”) acting alone or with the other Authorized Person (collectively,
the “Authorized Persons”) are authorized, empowered, and directed, in the name and on behalf of the
Corporation, to execute, verify and file all petitions, schedules, lists, motions, applications, pleadings and
other papers or documents as necessary to commence the case and obtain chapter 11 relief, including but
not limited to motions to obtain the use of cash collateral and provide adequate protection therefore and to
obtain debtor-in-possession financing, and to take, or cause to be taken, such other actions, as in the
judgment of such Authorized Person shall be or become necessary, advisable, proper, or desirable in
connection with the Corporation’s chapter 11 cases, such Authorized Person’s performance of any such act
and his or her execution and delivery of any such document, agreement, or instrument to be conclusive
evidence of the Authorized Person’s approval thereof.

Debtor in Possession Financing

        RESOLVED FURTHER, that that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to enter into a senior
secured, superpriority debtor in possession credit facility pursuant to the terms of the Senior Secured
Superpriority Debtor-in-Possession Credit Agreement, containing the terms substantially consistent with
those presented to the Board (the “DIP Credit Facility”), and negotiate, execute, and file any related
motions, documents, or instruments, each on terms and conditions agreed to by the Corporation and the
lenders and such other terms as are customary for similar debtor-in-possession facilities and to cause the
Corporation to grant a security interest in substantially all of its assets in connection therewith, and to
undertake any and all related transactions contemplated thereby.

         RESOLVED FURTHER, that the Corporation will receive substantial direct and indirect benefits
from the loans and other financial accommodations to be made under the DIP Credit Facility to the Filing
Entities.

Sale Process and Bidding Procedures Motion

        RESOLVED FURTHER, that that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to (i) file a motion
(the “Bidding Procedures Motion”) with the Bankruptcy Court to request, among other things, the
Bankruptcy Court’s approval of (a) the Sale Transaction, (b) the commencement of a marketing and sale
process in the chapter 11 cases for the Sale Transaction (the “Sale Process”), and (c) the bidding procedures
associated with the Sale Process, which are attached to the Bidding Procedures Motion (such bidding
procedures, in the form approved by the Bankruptcy Court, the “Bidding Procedures”), including a request
for approval of a break-up fee payable to the Stalking Horse Bidder on the terms set forth in the Stalking
Horse LOI and (ii) commence and implement the Sale Process.

        RESOLVED FURTHER, that the Authorized Persons, and any employees or agents (including
counsel) designated by or directed by any such officers, be, and each of them hereby is, authorized,
empowered, and directed, in the name and on behalf of the Corporation, to take any and all other actions as
they may deem necessary or advisable to implement the Sale Process as contemplated by the Bidding
Procedures.




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Retention of Advisors

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Corporation, to employ the law firm of
O’Melveny & Myers LLP as general bankruptcy counsel to represent and advise the Corporation in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance its rights and
obligations, including filing any pleadings in connection with the chapter 11 cases; and in connection
therewith, the Authorized Persons are hereby authorized, empowered, and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon filing of the chapter 11 cases,
and cause to be executed and filed an appropriate application with the bankruptcy court for authority to
retain the services of O’Melveny & Myers LLP.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Corporation, to employ the firm of Richards,
Layton & Finger, P.A. as local counsel to represent and advise the Corporation in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the chapter 11 cases; and in connection therewith, the Authorized Persons are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the chapter 11 cases, and cause to be executed and filed an
appropriate application with the bankruptcy court for authority to retain the services of Richards, Layton &
Finger, P.A.

         RESOLVED FURTHER, that that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to employ the firm
of FTI Capital Advisors LLC as financial advisor and investment banker to represent and assist the
Corporation in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
its rights and obligations in connection with the chapter 11 cases; and in connection therewith, the
Authorized Persons are hereby authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the chapter 11 cases, and
cause to be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of FTI Capital Advisors LLC.

         RESOLVED FURTHER, that that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to employ the firm
of A&G Realty Partners as real estate advisor to represent and assist the Corporation in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the chapter 11 cases; and in connection therewith, the Authorized Persons are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the chapter 11 cases, and cause to be executed and filed an
appropriate application with the bankruptcy court for authority to retain the services of A&G Realty
Partners.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to employ the
firm of Bankruptcy Management Solutions, Inc. d/b/a Stretto as notice, claims, and balloting agent to
assist the Corporation in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance its rights and obligations in connection with the chapter 11 cases; and in connection
therewith, the Authorized Persons are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the filing
of the chapter 11 cases, and cause to be executed and filed an appropriate application with the
bankruptcy court for authority to retain the services of Stretto.

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         RESOLVED FURTHER, that that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to employ Tiger
Capital Group, LLC as a consultant to represent and assist the Corporation in conducting any store closure
sales; and in connection therewith, the Authorized Persons are hereby authorized, empowered, and directed
to execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the chapter 11 cases, and cause to be executed and filed an appropriate application with the
bankruptcy court for authority to retain the services of Tiger Capital Group, LLC.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Corporation, to employ any other
professionals, including attorneys, accountants, financial advisors, investment bankers, and tax advisors,
necessary to assist the Corporation in carrying out its duties under the Bankruptcy Code; and in connection
therewith, the Authorized Persons are hereby authorized, empowered, and directed to execute appropriate
retention agreements, pay appropriate retainers prior to or immediately upon the filing of the chapter 11
cases, and cause to be executed and filed appropriate applications with the bankruptcy court for authority
to retain the services of any other professionals, as necessary.

Other Authorizations and Ratification

         RESOLVED FURTHER, that the Authorized Persons, and any employees or agents (including
counsel) designated by or directed by any such officers be, and each of them hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Corporation, to take any and all other actions
as they may deem necessary or advisable to, in the Corporation’s capacity as stockholder, shareholder,
equity holder, managing member, sole member, general partner, limited partner, or member of any of the
Filing Entities to cause such Entities to execute, deliver, and perform any of the actions contemplated with
respect to the chapter 11 cases and these resolutions or the transactions contemplated hereby.

        RESOLVED FURTHER, that all lawful acts, actions, and transactions relating to the matters
contemplated by the foregoing Resolutions done by any Authorized Person or any director, employee, legal
counsel, or other representative of or advisor to the Corporation, in the name and on behalf of the
Corporation, which acts would have been approved by the foregoing Resolutions except that such acts were
taken before these Resolutions were certified, are hereby in all respects approved and ratified.

       RESOLVED FURTHER, that this Written Consent may be executed in counterparts, each of
which shall be deemed an original, but all of which taken together shall constitute one and the same
document.




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                  IN WITNESS WHEREOF, the undersigned have duly executed this Written Consent as
of the date first written above.




                                                 Richar



                                                 Andrew Clarke, President and CEO



                                                 Patricia A. Bender



                                                 Philip F. Bleser



                                                 Susan McGalla



                                                 Joseph O'Leary



                                                 Martyn Redgrave



                                                 Marie Toulantis
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                  I   WlTNESS WH EREOF, Lhe undersigned have duly executed this Written Consent   as
of'the date first wri tten above.




                                                    a:::·~
                                                    Andrew Clarke, President and CEO



                                                    Patricia A. Bender



                                                    Philip F. Bleser



                                                    Susan McGal la



                                                    Joseph O' Leary



                                                    Martyn Redgrave



                                                    Marie Toulantis
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                  IN WITNESS WHEREOF, the undersigned have duly executed this Written Consent as
of the date first written above.




                                                Rich Emmett, Chairman



                                                           larke, President and CEO




                                                Philip F. Bleser



                                                 Susan McGalla



                                                Joseph O'Leary



                                                Martyn Redgrave



                                                Marie Toulantis
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                 L"'I WITNESS WHfc:IU'.()J,.., the undersigned h::t.vc duly cxocutcd t hi!': Written Consent as
or the date lirst written above.




                                                         Rich l ~mmen, Chairman



                                                        An<ln:-w Clarke., Pre:;idcnt aod CEO



                                                         Patricia J\. l:3e1lder




                                                         Susan McGalla


                                                         Joseph O'Leary



                                                         Martyn Redgrave



                                                         Marie Toulanti::.
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                  IN WITNESS WHEREOF, the undersigned have duly executed this Written Consent as
of the date first written above.




                                                 Rich Emmett, Chairman



                                                 Andrew Clarke, President and CEO



                                                 Patricia A. Bender



                                                 Philip F. Bleser


                                                 &~ 0 ~
                                                 Susan McGalla



                                                 Joseph O'Leary



                                                 Martyn Redgrave



                                                 Marie Toulantis
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                  IN WITNESS WHEREOF, the undersigned have duly executed this Written Consent as
of the date first written above.




                                                  Rich Emmett, Chairman



                                                  Andrew Clarke, President and CEO



                                                  Patricia A. Bender



                                                  Philip F. Bleser



                                                  Susan McGalla




                                                  Martyn Redgrave



                                                  Marie Toulantis
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                  IN Wl TN t:SS WRF.Kf'Ot"... --..ignc,d .... duly ex«uled lhis Wriuca c - ••
of the dllC ftn1 ""'nuc:n abo\""t.




                                               Rich Emmcu. Cbainn:in



                                               ~ C:larl<c. ~one! c:ro


                                               Paw;. A B<:ndcr



                                               Philip F. Bleser



                                               Susan '1cGalla


                                               Joseph o·Lcary




                                               Marie luulantis
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                  IN WITNESS WHEREOF, the undersigned have duly executed this Written Consent as
of the date first written above.




                                                 Rich Emmett, Chairman



                                                 Andrew Clarke, President and CEO



                                                 Patricia A. Bender



                                                 Philip F. Bleser



                                                 Susan McGalla



                                                 Joseph O' Leary
                    Case 20-13076-BLS              Doc 1       Filed 12/03/20   Page 19 of 24


                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE
------------------------------------------------------------- x
                                                              :
In re:                                                        : Chapter 11
                                                              :
FRANCESCA’S HOLDINGS CORPORATION, : Case No. 20-__________ (                                     )
                                                              :
                                                              :
                                             Debtor.
                                                              :
------------------------------------------------------------- x

                      Attachment to Voluntary Petition for Non-Individuals Filing
                                     for Bankruptcy under Chapter 11

         1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act
    of 1934, the SEC file number is 001-35239 .

        2. The following financial data is the latest available information and refers to the debtor’s condition on
    November 1, 2020.
         a. Total assets                                                 $ 264,700,000

         b. Total debts (including debts listed in 2.c., below)          $ 290,500,000
         c. Debt securities held by more than 500 holders
                                                                                                     Approximate
                                                                                                     number of
                                                                                                     holders:

          secured       unsecured        subordinated          $
          secured       unsecured        subordinated          $
          secured       unsecured        subordinated          $
          secured       unsecured        subordinated          $
          secured       unsecured        subordinated          $

         d. Number of shares of preferred stock
         e. Number of shares common stock                                                              3,030,305

         Comments, if any:




         3. Brief description of debtor’s business: Francesca’s is a specialty retailer that operates a nationwide
    chain of boutiques providing a diverse assortment of apparel, jewelry, accessories, and gifts.



         4. List the names of any person who directly or indirectly owns, controls, or holds, with power to
    vote, 5% or more of the voting securities of debtor:
     Cross River Capital Management LLC
                                   Case 20-13076-BLS                   Doc 1      Filed 12/03/20             Page 20 of 24
     Fill in this information to identify the case and this filing:

     Debtor Name Francesca’s Holdings Corporation

     United States Bankruptcy Court for the District of Delaware

     Case number (if known):


  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                           12/15

  A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
  claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


 Name of creditor and complete mailing        Name, telephone number, and email     Nature of the    Indicate if     Amount of unsecured claim
 address, including zip code                  address of creditor contact           claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                    example, trade   contingent,     claim amount. If claim is partially secured, fill in total
                                                                                    debts, bank      unliquidated,   claim amount and deduction for value of collateral or
                                                                                    loans,           or disputed     setoff to calculate unsecured claim.
                                                                                    professional
                                                                                    services, and




                                                                                                                                          I
                                                                                    government
                                                                                    contracts)                        Total claim, if        Deduction        Unsecured
                                                                                                                     partially secured      for value of
                                                                                                                                            collateral or
                                                                                                                                               setoff
                                                                                                                                                             [  claim


      Premium Outlet Partners, L.P.
      Attn: Legal Dept.
  1 225 West Washington
      Indianapolis, IN 46204                  Email: andrew.rice@simon.com          Rent                             $ 573,636              $               - $   573,636
 ---t
      Esung New York, LLC                     Phone: 559-717-8889
      132 Rockaway Ave.,                      Fax: 516-887-2688
  2 Valley Stream, NY 11580                   Email:                                Merchandise                      $ 543,908              $               - $   543,908
 ----4
      Tanger Properties Limited Partnership
      Attn: Legal Dept                        Fax: 336-852-2096
  3 3200 Northline Ave, Ste 360               Email:
 ----4
      Greensboro, NC 27408                    maren.donovan@tangeroutlets.com       Rent                             $ 535,829              $               - $   535,829
      Arc Textiles Inc
      dba Sofi Angel
  4 110 E 9th Street, Suite C757              Phone: 213-395-60081
      Los Angeles, CA 90079                   Email: emma.la20140821@gmail.com       Merchandise                     $ 492,694              $               - $   492,694
 -    Jolie Clothing, Inc.                    Phone: 213-746-1700
      1100 S. San Pedro St., #D3              Fax: 213-746-7260
  5 Los Angeles, CA 90015                     Email: customerservice@jolieonline.com Merchandise                     $ 437,969              $               - $   437,969
      Shantex Group LLC
      530 7th AVE Ste 907                     Phone: 646-918-6399
   6 New York, NY 10018                       Email:                                Merchandise                      $ 407,357              $               - $   407,357
      Ana Accessories Corporation
      dba Ana Trading Inc.                    Phone: 231-747-8879
  7 940 Crocker St. Ste 101                   Fax: 213-747-6016; 213-612-4392
      Los Angeles, CA 90021-2289              Email: support@shopgirly.net          Merchandise                      $ 381,474              $               - $   381,474
      Rymsbran Continental Corp
      619 West 54th Street, Suite 10A
   8 New York, NY 10019                       Email:                                Rent                             $ 365,080              $               - $   365,080
      Simon Property Group (Texas) L.P
      Attn: Legal Dept
   9 225 West Washington St.
      Indianapolis, IN 46204-3438             Email: dseabaugh@simon.com            Rent                             $ 357,370              $               - $   357,370
      Trixxi Clothing Company                 Phone: 323-585-4200
      c/o CIT Commercial Service              Fax: 213-943-1083; 434-791-642
  10 c/o Trixxi Clothing Company              Email: thomas.fingleton@cit.com;
      PO Box 1036                             michael.hudgens@cit.com;
      Charlotte, NC 28201-1036                darrin.beer@cit.com                   Merchandise                      $ 409,568              $     (73,614) $      335,954
      Joseph D.Arezzo, Inc                    Phone: 213-261-6182
      2900 E. 11th Street                     Fax: 888-897-0938
  11 Los Angeles, CA 90023                    Email: info@josephdarezzo.com         Merchandise                      $ 319,321              $               - $   319,321
      TRIPLE7GLOBAL, INC                      Phone: 213-614-7877 x102
      114 W. Elmyra Street                    Fax: 213-226-4494
  12 Los Angeles, CA, 90012                   Email:                                Merchandise                      $ 307,948              $               - $   307,948



Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 1
                                     Case 20-13076-BLS                       Doc 1     Filed 12/03/20            Page 21 of 24
  Debtor        Francesca’s Holdings Corporation                             Case number (if known)
                Name


 Name of creditor and complete mailing           Name, telephone number, and email      Nature of the    Indicate if     Amount of unsecured claim
 address, including zip code                     address of creditor contact            claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                        example, trade   contingent,     claim amount. If claim is partially secured, fill in total
                                                                                        debts, bank      unliquidated,   claim amount and deduction for value of collateral or
                                                                                        loans,           or disputed     setoff to calculate unsecured claim.
                                                                                        professional
                                                                                        services, and
                                                                                                                          Total claim, if        Deduction        Unsecured
                                                                                                                         partially secured      for value of        claim
                                                                                                                                                collateral or
                                                                                                                                                   setoff
     Accessories House NY, LLC
     10 West 33rd Street #502                    Phone: 512-466-8225
 13 New York, NY 10001                           Email:                                 Merchandise                      $ 301,706              $               - $   301,706
    Kibo Software Inc.
    717 N Harwood Street, Suite 1800                                                    Professional
 14 Dallas, TX 75201                             Email:                                 services                         $ 289,079              $               - $   289,079
    Oz Jewelry Corp                              Phone: 212-967-3857
    1201 Broadway, Suite 610                     Fax: 212-967-3858
 15 New York, NY 10001                           Email:                                 Merchandise                      $ 273,160              $               - $   273,160
    Athra NJ, Inc.                               Phone: 201-964-9770
 16 430 Gotham Pkwy
    Carlstadt, NJ 7072
                                                 Fax:201-964-9771
                                                 Email:                                 Merchandise                      $ 270,164              $               - $   270,164
                                                 Phone: 212-997-4433
     Fantas Eyes, Inc                            Fax: 609-502-4406
 17 The CIT Group/Commercial Svc                 Email: thomas.fingleton@cit.com;
     PO Box 1036                                 michael.hudgens@cit.com;
     Charlotte, NC 28201-1036                    darrin.beer@cit.com                    Merchandise                      $ 248,594              $               - $   248,594
     Valjean International, Inc.
     dba La Radiant                              Phone: 212-563-4648
 18 36 W 37th St, 2nd Floor                      Fax: 212-563-4623
     New York, NY 10018                          Email: info@laradiant.com              Merchandise                      $ 243,386              $               - $   243,386
     National Project Management                 Phone: 636-203-4944
     204 Fabricator Drive                        Fax: 636-203-4940                      Professional
 19 Fenton, MO 63026                             Email: info@natlpm.com                 services                         $ 241,064              $               - $   241,064
     DEE ELLE                                    Phone: 323-235-0122
  20 1701  E. Washington Blvd.,
     Los Angeles, CA 90021
                                                 Fax:323-235-0714
                                                 Email:                                 Merchandise                      $ 519,009              $    (278,298) $      240,711
     Desire Path Mississippi
     dba DPM Fragrance                           Phone: 662-324-2231
  21 1010 Lynn Lane                              Fax:662-324-3036
     Starkville, MS 39759                        Email: info@curiobrands.com            Merchandise                      $ 471,326              $    (245,050) $      226,277
     Much Too Much                               Phone: 213-622-5897
     110 E. 9th Street, B903                     Fax: 213-622-5839
 22 Los Angeles, CA 90079                        Email:                                 Merchandise                      $ 219,079              $               - $   219,079
     Occasionally Madedba Swig                   Phone: 804-288-7465
     8001 Franklin Farms Dr, Suite 100           Fax:
 23 Richmond, VA, 23229                          Email: info@swiglife.com               Merchandise                      $ 218,405              $               - $   218,405
     Georgetown One, LLC                         Phone:
     13150 Glen Road,                            Fax:                                   Professional
 24 North Potomac, MD 20878                      Email:                                 services                         $ 211,395              $               - $   211,395
     Jainsons International, Inc.
     dba Dizzy Lizzy                             Phone: 818-779-2999
 25 7526 Tyrone Ave                              Fax: 818-779-2910
     Van Nuys, CA 91405                          Email: info@jaincompany.com            Merchandise                      $ 204,105              $               - $   204,105
     3B International LLC                        Phone: 973-837-6036
     100 Bomont Place                            Fax: 201-604-6366
 26 Totowa, NJ 7512                              Email:                                 Merchandise                      $ 526,443              $    (324,021) $      202,422
     Asha Design LLC                             Phone: 310-661-3081
     288 Lexington Ave, Ste 9C                   Fax:
 27 New York, NY, 10016                          Email:                                 Merchandise                      $ 200,923              $               - $   200,923
     Magee v. Francesca's Holding Corp,
     NJ, 1:17-cv-00565
 28 SHAVITZ LAW GROUP, P.A.                      Phone:
     951 Yamato Rd, Suite 285                    Fax: 561-447-8831
     Boca Raton, FL 33431                        Email: gshavitz@shavitzlaw.com;
     Attn: Gregg I. Shavitz; Michael J. Palitz   mpalitz@shavitzlaw.com                 Litigation         C/U/D                     Unknown         Unknown              Unknown
 ---+
     Oullette v. Francesca's Collections Inc,
     ME, 2:20-cv-00389
 29 Law Office of Guy D. Loranger
     1 Granny Smith Court, Suite 3               Phone:
     Old Orchard Beach, Maine 04064              Fax:
     Attn: Guy D. Loranger                       Email: guy@lorangerlaw.com             Litigation         C/U/D                     Unknown         Unknown              Unknown
 ---+
     Pending NJ Employee Arbitration Case
     SHAVITZ LAW GROUP, P.A.                     Phone:
 30 951 Yamato Rd, Suite 285                     Fax: 561-447-8831
     Boca Raton, FL 33431                        Email: gshavitz@shavitzlaw.com;
     Attn: Gregg I. Shavitz; Michael J. Palitz   mpalitz@shavitzlaw.com                 Litigation         C/U/D                     Unknown         Unknown              Unknown
Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 2
                           Case 20-13076-BLS               Doc 1       Filed 12/03/20          Page 22 of 24
 Fill in this information to identify the case and this filing:

 Debtor Name Francesca’s Holdings Corporation

 United States Bankruptcy Court for the District of Delaware

 Case number (if known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


            Declaration and signature

        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized
        agent of the partnership, or another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the
        information is true and correct:

        ☐        Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

        ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        ☐        Schedule H: Codebtors (Official Form 206H)

        ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

        ☐        Amended Schedule ___

        ☒        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
                 Are Not Insiders (Official Form 204)

        ☐        Other document that requires a declaration


        I declare under penalty of perjury that the foregoing is true and correct to the best of my information and belief.

        Executed on        12/03/2020                           X
                          MM/DD/YYYY                                      Signature of individual on behalf of debtor

                                                                          Andrew Clarke
                                                                          Printed name
                                                                          President and Chief Executive Officer
                                                                          Position or relationship to debtor
              Case 20-13076-BLS        Doc 1    Filed 12/03/20    Page 23 of 24




                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE
 ------------------------------------------------------------ x
                                                              :
In re:                                                        : Chapter 11
                                                              :
FRANCESCA’S HOLDINGS CORPORATION, : Case No. 20-__________ (                       )
                                                              :
                                              Debtor.         :
                                                              :
 ------------------------------------------------------------ x

                        CORPORATE OWNERSHIP STATEMENT

        Pursuant to Bankruptcy Rules 1007(a)(1) and 7007.1, the following is a list of any
corporation, other than a governmental unit, that directly or indirectly owns 10% or more of any
class of equity interests in the above-captioned debtor.

            Debtor                       Direct Owner(s)               Indirect Owner(s)
 Francesca’s Holdings             Cross River Capital
 Corporation                      Management LLC
                            Case 20-13076-BLS              Doc 1       Filed 12/03/20          Page 24 of 24
 Fill in this information to identify the case and this filing:

 Debtor Name Francesca’s Holdings Corporation

 United States Bankruptcy Court for the District of Delaware

 Case number (if known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


            Declaration and signature

        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized
        agent of the partnership, or another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the
        information is true and correct:

        ☐        Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

        ☐        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        ☐        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        ☐        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        ☐        Schedule H: Codebtors (Official Form 206H)

        ☐        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

        ☐        Amended Schedule ___

        ☐        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
                 Are Not Insiders (Official Form 204)

        ☒        Other document that requires a declaration Corporate Ownership Statement


        I declare under penalty of perjury that the foregoing is true and correct to the best of my information and belief.

        Executed on
                           12/03/2020                             X
                           MM/DD/YYYY                                     Signature of individual on behalf of debtor
                                                                          Andrew Clarke
                                                                          Printed name
                                                                          President and Chief Executive Officer
                                                                          Position or relationship to debtor
